 Case 1:20-cr-00203-BMC Document 57 Filed 08/19/21 Page 1 of 2 PageID #: 152




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August 19, 2021


BY ECF

Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:       United States v. Urooj Rahman, Case No. 20-CR-203 (BMC)

Dear Judge Cogan:

By this letter, defendant Urooj Rahman respectfully requests that the terms and conditions of
her pretrial release be modified to allow her to attend the funeral and burial of her brother.

Ms. Rahman has been home detention, without incident, for over a year. I have discussed the
proposed modification with Ms. Rahman’s Pretrial Services Officer, Ramel Moore, as well as
with the assigned Assistant United States Attorneys. Neither Pretrial Services nor the
government object to Ms. Rahman’s request.

Ms. Rahman’s brother passed away in Dubai on August 13, 2021. The family is in the process
of repatriating the body to the United States. The family intends to have the funeral and burial
within 24 hours after the body arrives in the United States. In addition, the family plans to have
the funeral and burial on the same day.

Given the difficulty of obtaining an exact date for the repatriation of Ms. Rahman’s brother’s
body, Ms. Rahman respectfully requests that the Court allow Ms. Rahman to attend the funeral
and burial on a date and during times approved by Pretrial Services. As soon as Ms. Rahman
knows the date for the services, she will provide this information to Pretrial Services and will
obtain approval for windows of time to be out of her residence. Pretrial Services is amenable to
this request. The addresses for both the funeral and burial previously have been provided to
Pretrial Services.

Thus, for the foregoing reasons, Ms. Rahman respectfully requests that the Court modify the
terms and conditions her pretrial release to allow her to attend her brother’s funeral and burial
on a date and during times approved by Pretrial Services.




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 Case 1:20-cr-00203-BMC Document 57 Filed 08/19/21 Page 2 of 2 PageID #: 153
Honorable Brian M. Cogan                        -2-                            August 19, 2021

If Your Honor is in agreement with the proposed modification, we would respectfully request that
you SO ORDER this application.

Thank you for Your Honor’s attention to this matter.

Respectfully,




Peter W. Baldwin


SO ORDERED,



___________________________                                          _________________
Honorable Brian M. Cogan                                             Date
United States District Judge


cc:     All Counsel of Record (via ECF)
        Pretrial Services Officer Ramel Moore




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